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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


XIAFEN “SHERRY” CHEN
                       Plaintiff,                        Case No. 1:19-cv-00045
vs.
                                                         District Judge Timothy S. Black
UNITED STATES OF AMERICA
                       Defendant.




      ORDER GRANTING PLAINTIFFS UNOPPOSED MOTION FOR EXTENSION OF

                                              TIME

        Pursuant to 7.3(a), Counsel for the Plaintiff, conferred and received consent from

opposing counsel to extend the deadline to respond to the Defendant’s motion to dismiss to the

June 7, 2019, 21 days from the original deadline.

        Hereby, Plaintiff Xiafen Chen‘s Motion to extend the deadline to answer, move, or

otherwise plead in response to the Defendants motion to Dismiss is GRANTED.




        IT IS SO ORDERED.

Date: __________________                                            ____________________

                                                                    Timothy S. Black
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